          Case 23-02783                         Doc 11               Filed 03/04/23 Entered 03/04/23 23:07:48                                                  Desc Imaged
                                                                    Certificate of Notice Page 1 of 4
Information to identify the case:

                       Raymond L Wedel Jr.                                                      Social Security number or ITIN:      xxx−xx−4839
Debtor 1:
                                                                                                EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

Debtor 2:                                                                                       Social Security number or ITIN: _ _ _ _
(Spouse, if filing)    First Name    Middle Name     Last Name                                  EIN: _ _−_ _ _ _ _ _ _

United States Bankruptcy Court:     Northern District of Illinois                                   Date case filed for chapter:            13        3/1/23

Case number:          23−02783

Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                                10/20


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                   About Debtor 1:                                                         About Debtor 2:
1. Debtor's full name                              Raymond L Wedel Jr.

2. All other names used in the aka Ray Wedel
   last 8 years
                                                   332 Heather Terrace
3. Address                                         Round Lake, IL 60073
                                                   David H Cutler                                                          Contact phone 847−673−8600
   Debtor's attorney
4. Name                                            Cutler & Associates, Ltd.                                               Email: cutlerfilings@gmail.com
        and address                                4131 Main St.
                                                   Skokie, IL 60076

5. Bankruptcy trustee                              Glenn B Stearns                                                         Contact phone 630−981−3888
     Name and address                              801 Warrenville Road Suite 650
                                                   Lisle, IL 60532

6. Bankruptcy clerk's office                                                                                               Hours open:
     Documents in this case may be filed           Eastern Division                                                        8:30 a.m. until 4:30 p.m. except Saturdays,
     at this address.                              219 S Dearborn                                                          Sundays and legal holidays.
     You may inspect all records filed in          7th Floor                                                               Contact phone 1−866−222−8029
     this case at this office or online at         Chicago, IL 60604                                                       Date: 3/2/23
      https://pacer.uscourts.gov.
                                                                                                                                   For more information, see page 2




Official Form 309I                                           Notice of Chapter 13 Bankruptcy Case                                                       page 1
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Debtor Raymond L Wedel Jr.                                                                                                               Case number 23−02783
7. Meeting of creditors
    Debtors must attend the meeting to     April 10, 2023 at 11:00 AM                                        Location:
    be questioned under oath. In a joint                                                                     Appear by Zoom. For instructions, visit:
    case, both spouses must attend.                                                                          www.lisle13.com
    Creditors may attend, but are not      The meeting may be continued or adjourned to a
    required to do so.                     later date. If so, the date will be on the court
                                           docket.
                                           Debtors must bring a picture ID and proof of
                                           their Social Security Number.
8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 6/9/23
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                               not entitled to receive a discharge under
                                               U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                               debt excepted from discharge under
                                               11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: 5/10/23
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                       Filing deadline: 8/28/23
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Filing of plan                          The debtor has filed a plan. The plan is enclosed. The hearing on confirmation will be held on:
                                           5/12/23 at 10:30 AM , Location: Courtroom 642, 219 S. Dearborn St, Chicago, IL 60604 or Using Zoom. To
                                           appear by video, use this link: https://www.zoomgov.com/ or to appear by telephone, call Zoom for
                                           Government at 1−669−254−5252 or 1−646−828−7666. Then enter the meeting ID 160 817 7512 and
                                           passcode 623389.

                                           The Disclosure of Compensation has been filed. The attorney for the debtor is
                                           requesting fees of $ 4500.00
                                           Objections to confirmation of the Plan shall be filed at least 7 days prior to the confirmation
                                           hearing. If there are no objections, the Court may confirm the plan and allow fees requested
                                           by debtor's counsel to be paid through the plan.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy the plan, if not enclosed, will be sent to you later, and if the
                                           confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you
                                           believe that the law does not authorize an exemption that debtors claimed, you may file an objection by the
                                           deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                           If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.



Official Form 309I                                    Notice of Chapter 13 Bankruptcy Case                                                     page 2
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                                                              United States Bankruptcy Court
                                                               Northern District of Illinois
In re:                                                                                                                 Case No. 23-02783-ABG
Raymond L Wedel, Jr.                                                                                                   Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0752-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Mar 02, 2023                                               Form ID: 309I                                                             Total Noticed: 14
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 04, 2023:
Recip ID                 Recipient Name and Address
db                     + Raymond L Wedel, Jr., 332 Heather Terrace, Round Lake, IL 60073-2149
30134802               + Shindler & Joyce, 1990 E Algonquin Rd, Suite 180, Schaumburg, IL 60173-4164

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: cutlerfilings@gmail.com
                                                                                        Mar 02 2023 22:11:00      David H Cutler, Cutler & Associates, Ltd., 4131
                                                                                                                  Main St., Skokie, IL 60076
tr                     + Email/Text: mcguckin_m@lisle13.com
                                                                                        Mar 02 2023 22:12:00      Glenn B Stearns, 801 Warrenville Road Suite 650,
                                                                                                                  Lisle, IL 60532-4350
ust                    + Email/Text: USTPREGION11.ES.ECF@USDOJ.GOV
                                                                                        Mar 02 2023 22:12:00      Patrick S Layng, Office of the U.S. Trustee,
                                                                                                                  Region 11, 219 S Dearborn St, Room 873,
                                                                                                                  Chicago, IL 60604-2027
30134794               + Email/PDF: bncnotices@becket-lee.com
                                                                                        Mar 02 2023 22:26:40      Amex, Correspondence/Bankruptcy, Po Box
                                                                                                                  981540, El Paso, TX 79998-1540
30134796                  Email/Text: bankruptcy@cavps.com
                                                                                        Mar 02 2023 22:12:00      Cavalry Portfolio Services, 4050 E Cotton Center
                                                                                                                  Blvd, Phoenix, AZ 85040
30134795               + EDI: CAPITALONE.COM
                                                                                        Mar 03 2023 03:12:00      Capital One, Po Box 31293, Salt Lake City, UT
                                                                                                                  84131-0293
30134797               + EDI: CITICORP.COM
                                                                                        Mar 03 2023 03:13:00      Cbna, Attn: Bankruptcy, Po Box 6497, Sioux
                                                                                                                  Falls, SD 57117-6497
30134798               + EDI: DISCOVER.COM
                                                                                        Mar 03 2023 03:12:00      Discover Financial, Attn: Bankruptcy, Po Box
                                                                                                                  3025, New Albany, OH 43054-3025
30134799               ^ MEBN
                                                                                        Mar 02 2023 22:11:14      Guidance Res/US Bk, Attn: Bankruptcy, 800
                                                                                                                  Nicollet Mall, Minneapolis, MN 55402-7000
30134800               + Email/Text: bankruptcydpt@mcmcg.com
                                                                                        Mar 02 2023 22:12:00      Midland Funding/Midland Credit Mgmt, Attn:
                                                                                                                  Bankruptcy, Po Box 939069, San Diego, CA
                                                                                                                  92193-9069
30134801               + Email/PDF: resurgentbknotifications@resurgent.com
                                                                                        Mar 02 2023 22:26:38      Resurgent Capital Services, Attn: Bankruptcy, Po
                                                                                                                  Box 10497, Greenville, SC 29603-0497
30134803               + EDI: WTRRNBANK.COM
                                                                                        Mar 03 2023 03:13:00      Target Nb, C/O Financial & Retail Services,
                                                                                                                  Mailstop BT PO Box 9475, Minneapolis, MN
                                                                                                                  55440-9475

TOTAL: 12


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
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Date Rcvd: Mar 02, 2023                                             Form ID: 309I                                                     Total Noticed: 14
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                  NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 04, 2023                                       Signature:           /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 2, 2023 at the address(es) listed
below:
Name                             Email Address
David H Cutler
                                 on behalf of Debtor 1 Raymond L Wedel Jr. cutlerfilings@gmail.com, r48280@notify.bestcase.com

Glenn B Stearns
                                 stearns_g@lisle13.com

Patrick S Layng
                                 USTPRegion11.ES.ECF@usdoj.gov


TOTAL: 3
